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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

ROBERT KING WILKERSON, ET AL

VERSUS                                               CIVIL ACTION NO. 00-304-C-M3

RICHARD STALDER, ET AL
****************************************************************************

              SUGGESTION OF DEATH OF SAM SMITH UPON THE RECORD

           NOW INTO COURT, through undersigned counsel, come Richard Stalder, Secretary,

Louisiana Department of Public Safety and Corrections; Burl Cain, Warden, Louisiana State

Penitentiary; Richard Peabody, Deputy Warden, Louisiana State Penitentiary (“LSP”); Robert

Rachal, former Major, LSP; Paul J. Myers, Major, LSP; and Tom Norris, former Classification

Officer, LSP (collectively referred to as “State Defendants”) and suggest upon the record,

pursuant to Rule 25 (a)(1) of the Federal Rules of Civil Procedure, the death of Sam Smith,

originally named as a defendant in this action, during the pendency of this action.

                                             Respectfully submitted:

                                             CHARLES C. FOTI, JR.
                                             Louisiana Attorney General


                                             /s/ M. Brent Hicks
                                             Richard A. Curry, La Bar Roll 4671
                                             M. Brent Hicks, La Bar Roll 23778
                                             McGlinchey Stafford, PLLC
                                             14th Floor, One American Place
                                             Baton Rouge, Louisiana 70825
                                             Telephone: (225) 383-9000

                                             Attorneys for State Defendants




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                                  CERTIFICATE OF SERVICE

           I CERTIFY that a copy of the foregoing was filed electronically with the Clerk of Court

using the CM/ECF system. Notice of this filing will be sent to George Kendall, Esq. and

William Quigley, Esq. by operation of the court’s electronic filing system.

           Baton Rouge, Louisiana, this 13th day of November, 2006.


                                               /s/ M. Brent Hicks
                                               M. Brent Hicks




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